                    Case 2:22-cv-02186-AB-PLA Document 13 Filed 04/26/22 Page 1 of 8 Page ID #:47



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                                              UNITED STATES DISTRICT COURT
                    15
                                             CENTRAL DISTRICT OF CALIFORNIA
                    16
                    17
                         ALICE ARNOLD,                            Case No. 2:22-cv-02186-AB-PLA
                    18
                    19                  Plaintiff,                ANSWER TO COMPLAINT
                    20         v.
                    21   ARRAY ALLIANCE, INC.,
                    22
                                        Defendant.
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      LOS ANGELES
                    Case 2:22-cv-02186-AB-PLA Document 13 Filed 04/26/22 Page 2 of 8 Page ID #:48



                     1         Defendant ARRAY Alliance, Inc., (“ARRAY”) hereby answers the
                     2   complaint for copyright infringement (Dkt. No. 1) filed by Plaintiff Alice Arnold on
                     3   April 1, 2022, as follows:
                     4                              SUMMARY OF THE ACTION
                     5         1.       ARRAY admits the allegations of the nature of the case in paragraph 1
                     6   of the complaint.
                     7         2.       ARRAY lacks information sufficient to form a belief as to the facts
                     8   alleged in paragraph 2 of the complaint, and on that basis, ARRAY denies these
                     9   allegations.
                    10         3.       ARRAY lacks information sufficient to form a belief as to the facts
                    11   alleged in paragraph 3 of the complaint, and on that basis, ARRAY denies these
                    12   allegations.
                    13         4.       Paragraph 4 is not numbered; ARRAY admits the allegations in the
                    14   un-numbered indented paragraph following paragraph 3.
                    15         5.       Paragraph 5 is not numbered; ARRAY admits the allegations in the
                    16   un-numbered indented paragraph preceding paragraph 6 to the extent they
                    17   summarize Arnold’s allegations, but denies that it copied Arnold’s copyrighted
                    18   Work from the internet in order to advertise, market and promote its business
                    19   activities or for the purpose of advertising and promoting sales to the public in the
                    20   course and scope of ARRAY’s business.
                    21                              JURISDICTION AND VENUE
                    22         6.       ARRAY admits the allegations of the nature of the case in paragraph 6
                    23   of the complaint.
                    24         7.       ARRAY admits the allegations regarding subject matter jurisdiction in
                    25   paragraph 7 of the complaint.
                    26         8.       ARRAY admits the allegations regarding personal jurisdiction in
                    27   paragraph 8 of the complaint.
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                                                      ANSWER TO COMPLAINT
                    Case 2:22-cv-02186-AB-PLA Document 13 Filed 04/26/22 Page 3 of 8 Page ID #:49



                     1         9.       ARRAY admits the allegations regarding ARRAY’s residency and
                     2   regarding personal jurisdiction and venue in paragraph 9 of the complaint. ARRAY
                     3   denies the legal conclusion of infringement.
                     4                                       DEFENDANT
                     5
                               10.      ARRAY admits the allegations in paragraph 10 of the complaint.
                     6
                          ARNOLD’S ALLEGATIONS REGARDING THE COPYRIGHTED WORK
                     7
                                                               AT ISSUE
                     8
                     9         11.      ARRAY admits the image depicted in paragraph 11 of the complaint
                    10   (the “Work”) appears to depict Octavia Butler and appears to be the image at issue.
                    11   ARRAY lacks information sufficient to form a belief as to the remaining facts
                    12   alleged in paragraph 11 of the complaint, and on that basis, ARRAY denies these
                    13   allegations.
                    14         12.      Paragraph 12 is not numbered. ARRAY lacks information sufficient to
                    15   form a belief as to the facts alleged in the un-numbered paragraph following
                    16   paragraph 11 of the complaint, and on that basis, ARRAY denies these allegations.
                    17         13.      ARRAY lacks information sufficient to form a belief as to the facts
                    18   alleged in paragraph 13 of the complaint, and on that basis, ARRAY denies these
                    19   allegations.
                    20      ARNOLD’S ALLEGATIONS OF INFRINGEMENT BY DEFENDANT
                    21
                               14.      ARRAY admits the allegation concerning licensure in paragraph 14 of
                    22
                         the complaint.
                    23
                               15.      ARRAY admits that on a date after the Work was created but prior to
                    24
                         the filing of this action, ARRAY posted the Work on its verified Twitter account
                    25
                         (@ARRAYNow) as part of a thread to celebrate the birthday of Octavia Butler and
                    26
                         to educate the public about Octavia Butler.
                    27
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                                                      ANSWER TO COMPLAINT
                    Case 2:22-cv-02186-AB-PLA Document 13 Filed 04/26/22 Page 4 of 8 Page ID #:50



                     1         16.    ARRAY admits that it posted the Work on its verified Twitter account
                     2   (@ARRAYNow) as part of a thread to celebrate the birthday of Octavia Butler and
                     3   to educate the public about Octavia Butler. ARRAY lacks information sufficient to
                     4   form a belief as to the remaining facts alleged in paragraph 16 of the complaint
                     5   regarding Arnold’s knowledge, and on that basis, ARRAY denies these allegations.
                     6         17.    Array admits that it posted the Work on its verified Twitter account
                     7   (@ARRAYNow) as part of a thread to celebrate the birthday of Octavia Butler and
                     8   to educate the public about Octavia Butler. The remainder of this paragraph
                     9   contains legal conclusions and questions of law to which no response is required.
                    10         18.    ARRAY denies the allegations in paragraph 18 of the complaint.
                    11         19.    ARRAY lacks information sufficient to form a belief as to the facts
                    12   alleged in paragraph 19 of the complaint regarding Arnold’s knowledge, and on that
                    13   basis, ARRAY denies these allegations.
                    14         20.    ARRAY denies the allegations in paragraph 20 of the complaint.
                    15         21.    ARRAY admits that Arnold did not expressly give ARRAY
                    16   permission authority to copy, distribute, or display the Work.
                    17         22.    ARRAY admits that it received notices dated April 22, 2021, and May
                    18   10, 2021, which letters also included the details of ARRAY’s tweet. ARRAY
                    19   denies that it failed to respond to the notices.
                    20                                   ARNOLD’S COUNT I
                                                   (COPYRIGHT INFRINGEMENT)
                    21
                    22         23.    Paragraph 23 of the complaint realleges facts for which no further
                    23   response is required. To the extent that this paragraph contains factual allegations,
                    24   ARRAY realleges its responses above and denies any remaining factual allegations.
                    25         24.    Paragraph 24 of the complaint consists of legal conclusions and
                    26   questions of law to which no response is required.
                    27
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                                                     ANSWER TO COMPLAINT
                    Case 2:22-cv-02186-AB-PLA Document 13 Filed 04/26/22 Page 5 of 8 Page ID #:51



                     1         25.      ARRAY lacks information sufficient to form a belief as to the facts
                     2   alleged in paragraph 25 of the complaint, and on that basis, ARRAY denies these
                     3   allegations.
                     4         26.      Paragraph 26 of the complaint consists of legal conclusions and
                     5   questions of law to which no response is required.
                     6         27.      ARRAY denies the allegations in paragraph 27 of the complaint.
                     7         28.      ARRAY denies the allegations in paragraph 28 of the complaint.
                     8         29.      ARRAY lacks information sufficient to form a belief as to the facts
                     9   alleged in paragraph 29 of the complaint, and on that basis, ARRAY denies these
                    10   allegations.
                    11         30.      ARRAY lacks information sufficient to form a belief as to the facts
                    12   alleged in paragraph 30 of the complaint, and on that basis, ARRAY denies these
                    13   allegations.
                    14                          ARNOLD’S REQUEST FOR RELIEF
                    15
                               Arnold’s request for relief section is not set-off with a separate heading.
                    16
                         ARRAY denies that Arnold is entitled to any relief on its complaint.
                    17
                                                           JURY DEMAND
                    18
                    19         ARRAY joins Arnold’s request for a jury trial.
                    20                         ARRAY’S AFFIRMATIVE DEFENSES
                    21         Without assuming the burden of proof where such burden rests with Arnold,
                    22   ARRAY asserts the following affirmative defenses to Arnold’s complaint:
                    23                            FIRST AFFIRMATIVE DEFENSE
                                                           (FAIR USE)
                    24
                    25         Arnold’s claims are barred by the doctrine of fair use, as codified in 17
                    26   U.S.C. 107.
                    27
                    28
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                                                      ANSWER TO COMPLAINT
                    Case 2:22-cv-02186-AB-PLA Document 13 Filed 04/26/22 Page 6 of 8 Page ID #:52



                     1                        SECOND AFFIRMATIVE DEFENSE
                     2                            (INVALID COPYRIGHT)

                     3         Arnold’s claims are barred because the asserted copyrights are invalid or
                     4   unenforceable.
                     5                         THIRD AFFIRMATIVE DEFENSE
                                                   (COPYRIGHT MISUSE)
                     6
                     7         Arnold’s claims are barred by the doctrine of copyright misuse.
                     8                        FOURTH AFFIRMATIVE DEFENSE
                                                   (UNCLEAN HANDS)
                     9
                               Arnold’s claims are barred, in whole or in part, by the doctrine of unclean
                    10
                         hands.
                    11
                                               FIFTH AFFIRMATIVE DEFENSE
                    12
                                                  (FAILURE TO MITIGATE)
                    13
                               Arnold’s claims for damages are barred by her failure to mitigate damages.
                    14
                                               SIXTH AFFIRMATIVE DEFENSE
                    15                            (EQUITABLE ESTOPPEL)
                    16
                               Arnold’s claims are barred, in whole or in part, by the doctrine of equitable
                    17
                         estoppel.
                    18
                                             SEVENTH AFFIRMATIVE DEFENSE
                    19                             (IMPLIED LICENSE)
                    20         Arnold’s claims are barred, in whole or in part, by the doctrine of implied
                    21   license.
                    22                        EIGHTH AFFIRMATIVE DEFENSE
                    23                          (INNOCENT INFRINGEMENT)
                    24         ARRAY’s conduct was innocent and not a willful infringement of copyright
                    25   and accordingly any statutory damages should be reduced under 17 U.S.C.
                    26   504(c)(2).
                    27
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                    Case 2:22-cv-02186-AB-PLA Document 13 Filed 04/26/22 Page 7 of 8 Page ID #:53



                     1                          NINTH AFFIRMATIVE DEFENSE
                     2                          (DECEPTIVE AND MISLEADING)

                     3         Arnold’s claims are barred due to their deceptive and misleading advertising
                     4   in connection with the distribution of all alleged copyrighted works.
                     5                          TENTH AFFIRMATIVE DEFENSE
                                                         (WAIVER)
                     6
                     7         Arnold has waived her rights to claim copyright infringement.
                     8                       ELEVENTH AFFIRMATIVE DEFENSE
                                               (ABANDONMENT/FORFEITURE)
                     9
                               Arnold has abandoned or forfeited her copyrights.
                    10
                                              TWELFTH AFFIRMATIVE DEFENSE
                    11
                                                    (ACQUIESCENCE)
                    12
                               Arnold has acquiesced in any alleged copyright infringement.
                    13
                                           THIRTEENTH AFFIRMATIVE DEFENSE
                    14                                (LACHES)
                    15
                               Arnold’s action is barred by the doctrine of laches.
                    16                           RESERVATION OF DEFENSES
                    17
                               ARRAY reserves the right to add any additional defenses that discovery may
                    18
                         reveal.
                    19                          ARRAY’S PRAYER FOR RELIEF
                    20
                               WHEREFORE, Array requests the following:
                    21
                                   a. Dismissal of Arnold’s action with prejudice;
                    22
                                   b. An order that Arnold shall take no relief from her complaint herein;
                    23
                                   c. An award of ARRAY’s costs and attorney’s fees incurred in defending
                    24
                                      against Arnold’s claims; and
                    25
                                   d. Such further and other relief as the Court deems fair and just.
                    26
                    27
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                    Case 2:22-cv-02186-AB-PLA Document 13 Filed 04/26/22 Page 8 of 8 Page ID #:54



                     1                                   JURY DEMAND
                     2          Defendant ARRAY Alliance, Inc. hereby demands a trial by jury of all issues
                     3   so triable.
                     4
                          Dated: April 26, 2022                  Respectfully submitted,
                     5
                     6                                           /s/ Robyn C. Crowther
                     7                                           Robyn C. Crowther
                                                                 Bill Toth
                     8                                           STEPTOE & JOHNSON LLP
                     9
                                                                 Attorney for Defendant
                    10                                           ARRAY Alliance, Inc.
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                                                    ANSWER TO COMPLAINT
